              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Case No. 20-cv-954

FARHAD AZIMA,

      Plaintiff,                            NOTICE OF SUBPOENA TO
                                            FIRST NATIONAL BANK OF
       v.                                        PENNSYLVANIA

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

      Defendants.



     PLEASE TAKE NOTICE:
     Pursuant to Rule 45(a)(4) of the Federal Rules of Civil Procedure,

Plaintiff Farhad Azima provides notice to Defendants Nicholas Del Rosso and

Vital Management Services, Inc. that Plaintiff intends to serve the subpoena

attached as Exhibit 1 on non-party First National Bank of Pennsylvania on

January 17, 2022.

     This, the 16th day of January, 2023.


                                /s/ Ian Herbert

                                MILLER & CHEVALIER CHARTERED

                                Kirby D. Behre (pro hac vice)
                                Timothy P. O’Toole (pro hac vice)
                                Brian A. Hill (pro hac vice)
                                Joseph Rillotta (pro hac vice)
                                Ian Herbert (pro hac vice)
                                Calvin Lee (pro hac vice)
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                            Cody Marden (pro hac vice)
                            900 16th Street, NW
                            Washington, D.C. 20006
                            Telephone: (202) 626-5800
                            Fax: (202) 626-5801
                            Email: iherbert@milchev.com

                            WOMBLE BOND DICKINSON (US) LLP

                            Ripley Rand
                            North Carolina Bar No. 22275
                            Christopher W. Jones
                            North Carolina Bar No. 27625
                            Jonathon Townsend
                            North Carolina State Bar No. 51751
                            555 Fayetteville Street, Suite 1100
                            Raleigh, North Carolina 27601
                            Phone: 919-755-2100
                            Fax: 919-755-2150
                            Email: ripley.rand@wbd-us.com
                                   chris.jones@wbd-us.com

                            Counsel for Plaintiff




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       CASE NO. 20-CV-954


FARHAD AZIMA,

     Plaintiff,

     v.
                                        CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

     Defendants.




     I hereby certify that I serviced this Notice by email on the following
counsel for Defendants on January 16, 2023:
     Kieran J. Shanahan, Esq.
     Brandon S. Neuman, Esq.
     Jeffrey M. Kelly, Esq.
     Nathaniel J. Pencook, Esq.
     GlenLake One
     4140 Parklake Avenue - Suite 200
     Raleigh, NC 27612
     kieran.shanahan@nelsonmullins.com
     brandon.neuman@nelsonmullins.com
     jeff.kelly@nelsonmullins.com
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     Telephone: 919.329.3800
     Facsimile: 919.329.3799




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   Case 1:20-cv-00954-WO-JLW Document 122-1 Filed 01/20/23 Page 3 of 13
  This, the 16th day of January, 2023.

                             /s/ Ian Herbert

                             MILLER & CHEVALIER CHARTERED

                             Ian Herbert (pro hac vice)
                             900 16th Street, NW
                             Washington, D.C. 20006
                             Telephone: (202) 626-5800
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                             Email: iherbert@milchev.com




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       United States District Court
                                                                           for the
                                                        Middle District of North Carolina              H
                          Farhad Azima
                                                                               )
                               Plaintiff                                       )
                                  V.                                           )       Civil Action No. 20-cv-954
Nicholas Del Rosso & Vital Management Services, Inc                            )
                                                                               )
                              Defendant                                        )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                         First National Bank of Pennsylvania a/k/a First National Bank
 To:                              Attn: Legal Department, 3015 Glimcher Boulevard, Hermitage, PA 16148

                                                       (Name ofperson to whom this subpoena is directed)
       • Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 materialsee Attached.

  P|acTc7 Womble Bond Dickinson LLP                                                     Date and Time:
          555 Fayetteville St., Ste. 1100
          Raliegh, NC 27601                                                                                  01/24/2023 6:25 pm


     □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/10/2023

                                  CLERK OF COURT


                                           Signature of Clerk or Deputy Clerk
                                                                                           OR
                                                                                                       0.(LAVV
                                                                                                     I/ N                          k
                                                                                                                     A Korney’s gnatnW                •


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                    Farhad Azima
Ripley Rand, Womble Bond Dickinson LLP                                                          , who issues or requests this subpoena, are:
555 Fayetteville St. Ste.1100, Raleigh, NC 27601, (919) 755-2100, ripley.rand@wbd-us.com

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).



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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 20-cv-954

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for        (name of individual and title, ifany)

on (date)


            □             I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on   (date)                                 ; or

            □             I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $

My fees are $                                      for travel and $                              for services, for a total of $               0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server’s address


Additional information regarding attempted service, etc.:




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
     (i)         is a party or a party’s officer; or                              otherwise met without undue hardship; and
     (ii) is commanded to attend a trial and would not incur substantial               (ii)          ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (c) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B)       inspection of premises at the premises to be inspected.                 (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to           (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i)     expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i)       fails to allow a reasonable time to comply;                        present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv)       subjects a person to undue burden.                                (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                            Attachment A
                                           INSTRUCTIONS
        1.     Prior to answering the following, you are requested to make a due and diligent
search of your books, records, and papers, with a view to eliciting all information responsive to
this subpoena.

       2.     If you object to any request on the basis of privilege, please identify the nature of
the documents being withheld on that basis.

        3.      If any document responsive to this request was, but no longer is in your
possession, state whether it is missing or lost; if it has been destroyed; if it has been transferred,
voluntarily or involuntarily, to others; or if it has otherwise been disposed of. In each instance,
identify the document fully, explain the circumstances, and identify the people having
knowledge of such circumstances.

        4.     If you contend that any documents covered in these requests are not reasonably
accessible or would be unduly burdensome to locate or produce, identify such documents by
category and source and provide detailed information regarding the burden or cost you claim is
associated with the search for or production of such documents.

       5.       To the extent documents produced in response to this request include electronic
documents, such as spreadsheets or databases, please produce all such documents in native form,
ensuring that all formulae and metadata embedded in such documents are produced.

      6.      To the extent you intend to not produce a requested document, you are directed to
make and safeguard a copy of the requested information.

        7.   The relevant time period for documents responsive to the following requests shall
be between August 1, 2014 until now.

                                            DEFINITIONS
       1.      The term “communications” means any oral, written, or electronic transmission of
information, including without limitation any face-to-face meetings, letters, emails, text
messages, social media messaging, or telephone calls, chat rooms, or group list serves.

       2.       The term “document” is intended to be as comprehensive as the meaning provided
in Rule 34 of the Federal Rules of Civil Procedure.

        3.     The term “person” means any individual, corporation, partnership, proprietorship,
association, organization, governmental entity, group of persons or any other entity of whatever
nature.



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        4.      The terms “relate to” or “relating to” means consisting of, referring to, regarding,
reflecting, supporting, prepared in connection with, used in preparation of, or being in any way
logically or factually connected with the matter discussed.

         5.      The term “you” means FIRST NATIONAL BANK OF PENNSYLVANIA
A/K/A FIRST NATIONAL BANK and all employees, agents, representatives, subsidiaries,
affiliates, assignees, or other persons acting or purporting to act on its behalf.

       6.      “Defendants” refers to Nicholas Del Rosso and Vital Management Services, Inc.

        7.    “Nicholas Del Rosso” refers to Nicholas Del Rosso, the owner and an employee
of the company Vital Management Services Inc. Del Rosso is believed to reside at 318 Lystra
Preserve Drive, Chapel Hill, North Carolina 27517.

       8.     “Vital Management Services, Inc.” refers to a company believed to be owned and
operated by Nicholas Del Rosso located at 1340 Environ Way, Chapel Hill, North Carolina,
27517.

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       9.         Shanahan Law Group” refers to Shanahan Law Group PLLC located at 128 E.
Hargett Street, 3rd Floor, Suite 300, Raleigh, North Carolina, 27601.




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                             DOCUMENTS TO BE PRODUCED
        1.      All documents and communications relating to accounts held in the name of,
owned by, or for the benefit of Shanahan Law Group, Kieran Shanahan, Nicholas Del Rosso or
Vital Management Services, Inc. This request includes transfers to and from those accounts,
including but not limited to transactions between Shanahan Law Group and Vital Management
Services, Inc., totaling approximately $6.2 million between June 2017 and November 2020. This
request includes but is not limited to bank statements, account opening documents,
communications about the accounts or with the account holders, and records of money transfers
via wire, SWIFT, check, or other method.




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General Instructions:

Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used
and maintained during the normal course of business. For example, an MS Excel file must be produced
as an MS Excel file rather than an image of a spreadsheet. (Note: An Adobe PDF file is not considered a
native file unless the document was initially created as a PDF.)

If your production will be de-duplicated it is vital that you
     1. preserve any unique metadata associated with the duplicate files, for example, custodian name,
         and,
     2.       make that unique metadata part of your production.

Data Delivery Standards

General requirements for ALL document productions are:
   1. A cover letter should be included with each production and include the following:
            1. Case number
            2. A list of each piece of media included in the production with its unique production
                volume number
            3. A list of custodians, identifying the Bates range for each custodian.
            4. The time zone in which the emails were standardized during conversion.
   2. Productions may be submitted via Secure File Transfer.
   3. Alternatively, data can be produced on CD, DVD, thumb drive, hard drive, using the media
       requiring the least number of deliverables.
   4. All submissions must be organized by custodian unless otherwise instructed.
   5. All document family groups, i.e. email attachments, embedded files, etc., should be produced
       together and children files should follow parent files sequentially in the Bates numbering.
   6. All load-ready collections should include only one data load file and one image pointer file.
   7. All load-ready text must be produced as separate text files.
   8. All load-ready collections should account for custodians in the custodian field.
   9. Only alphanumeric characters and the underscore character are permitted in file names and
       folder names. Special characters are not permitted.
   10. All productions must be produced using industry standard self-extracting encryption software.
   11.       All productions must be encrypted using a complex, unique password.
   12. Passwords for electronic documents, files, compressed archives and encrypted media must be
       provided separately either via email or in a separate cover letter from the media.
   13.       All electronic productions should be produced free of computer viruses.

Delivery Formats

I. Concordance® Imaged Productions
All scanned paper and electronic file collections should be converted to TIFF files, Bates numbered, and
include fully searchable text files.
     1. Images
             a. Black and white images must be 300 DPI Group IV single-page TIFF files.
             b. Color images must be produced in JPEG format.
             c. File names cannot contain embedded spaces or special characters (including the
                 comma).




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         d.   Folder names cannot contain embedded spaces or special characters (including the
              comma).
         e.   All TIFF image files must have a unique file name, i.e. Bates number.
         f.   Images must be endorsed with sequential Bates numbers in the lower right corner of
              each image.
         8.   The number of TIFF files per folder should not exceed 1,000 files.
         h.   Excel spreadsheets should have a placeholder image named by the Bates number of the
              file.
         i.   AUTOCAD/photograph files should be produced as a single page JPEG file.

 2. Concordance Image® OR Opticon Cross-Reference File
 The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a
 comma-delimited file consisting of seven fields per line with a line in the cross-reference file for
 every image in the database with the following format:
     lmagelD,VolumeLabel,lmageFilePath,DocumentBreak,FolderBreak,BoxBreak, PageCount

 3. Concordance®Data File
 The data file (.DAT) contains all of the fielded information that will be loaded into the Concordance®
 database.
         a. The first line of the .DAT file must be a header row identifying the field names.
         b. The .DAT file must use the following Concordance® default delimiters:
                        Comma ASCII character (020)
                        Quote b ASCII character (254)
         c. Date fields should be provided in the format: mm/dd/yyyy
         d. Date and time fields must be two separate fields.
         e. If the production includes imaged emails and attachments, the attachment range must
              be included to preserve the parent/child relationship between an email and its
              attachments.
        f. A TEXT LINK field must be included to provide the file path and name of the extracted
              text file on the produced storage media. The text file must be named after the BEGDOC.
              Do not include the text in the .DAT file.
         g. For productions with native files, a NATIVE LINK field must be included to provide the
              file path and name of the native file on the produced storage media. The native file
              must be named after the BEGDOC.
         h. BEGATT and ENDATfields must be two separate fields.
        I. A complete list of metadata fields is available as a separate attachment.

 4. Text
 Text must be produced as separate text files, not as fields within the .DAT file. The full path to the
 text file (TEXT LINK) should be included in the .DAT file. We require document level text files, named
 per the BEGDOC/lmage Key. Extracted text files must be in a separate folder, and the number of text
 files per folder should not exceed 1,000 files. There should be no special characters (including
 commas in the folder names). For redacted documents, provide the full text for the redacted
 version.

 5. Linked Native Files
 Copies of original email and native file documents/attachments must be included for all electronic
 productions.




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           a.   Native file documents must be named per the BEGDOC number.
           b.   The full path of the native file must be provided in the .DAT file for the NATIVE LINK
                field.
           c.   The number of native files per folder should not exceed 1,000 files.

II. Adobe PDF File Production

With prior approval, Adobe PDF files may be produced in native file format.
    1. PDF files should be produced in separate folders named by the custodian. The folders should not
        contain any special characters (including commas).
   2. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete
        document.
   3. All PDF files must contain embedded text that includes all discernible words within the
        document, not selected text or image only. This requires all layers of the PDF to be flattened
        first.
   4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.




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